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Case 4:21-cr-03282-SHR-MAA Document 1

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District of Arizona

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Filed 12/29/21 Page 1 of 3

CR-21-03282-TUC-SHR(LAB)

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,
Plaintiff,
vs.
Javier Alejandro Ramos Velderrain,

Defendant.

THE GRAND JURY CHARGES:

ALEJANDRO RAMOS VELDERRAIN knowingly made a false statement and
representation to SNG Tactical, licensed under the provisions of Chapter 44, Title 18,
United States Code, with respect to information required by the provisions of Chapter 44,
Title 18, United States Code, to be kept in the records of SNG Tactical, in that Defendant
JAVIER ALEJANDRO RAMOS VELDERRAIN, in connection with the purchase of a
firearm, that is, a Century Arms International model VSKA 7.62x39mm caliber rifle, stated

that his current residence address was 4610 East Skyline Drive, Apt. 1012, Tucson, AZ,

No.

INDICTMENT

VIO: 18 U.S.C. § 924(a)(1)(A)
(Making False Statements in
Records of Federally Licensed
Firearms Dealers)

Counts 1, 2, 3

18 U.S.C. § Ae
28 U.S.C. § 2461(c)
Forfeiture

COUNT 1
On or about June 12, 2020, in the District of Arizona, Defendant JAVIER

85718, when in fact that was not his current residence address.

In violation of Title 18, United States Code, Section 924(a)(1)(A).

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COUNT 2

On or about June 16, 2020, in the District of Arizona, Defendant JAVIER
ALEJANDRO RAMOS VELDERRAIN knowingly made a false statement and
representation to SNG Tactical, licensed under the provisions of Chapter 44, Title 18,
United States Code, with respect to information required by the provisions of Chapter 44,
Title 18, United States Code, to be kept in the records of SNG Tactical, in that Defendant
JAVIER ALEJANDRO RAMOS VELDERRAIN, in connection with the purchase of a
firearm, that is, a Century Arms International model VSKA 7.62x39mm caliber rifle, stated
that his current residence address was 4610 East Skyline Drive, Apt. 1012, Tucson, AZ,
85718, when in fact that was not his current residence address.

In violation of Title 18, United States Code, Section 924(a)(1)(A).

COUNT 3

On or about October 10, 2020, in the District of Arizona, Defendant JAVIER
ALEJANDRO RAMOS VELDERRAIN knowingly made a false statement and
representation to 2A Ballistic Solutions, licensed under the provisions of Chapter 44, Title
18, United States Code, with respect to information required by the provisions of Chapter
AA, Title 18, United States Code, to be kept in the records of 2A Ballistic Solutions, in that
Defendant JAVIER ALEJANDRO RAMOS VELDERRAIN, in connection with the
purchase of a firearm, that is, a Barrett model M82A1 .50 BMG caliber rifle, stated that his
current residence address was 4610 East Skyline Drive, Apt. 1012, Tucson, AZ, 85718,
when in fact that was not his current residence address.

In violation of Title 18, United States Code, Section 924(a)(1)(A).

FORFEITURE ALLEGATION

Upon conviction of Counts One through Three of this Indictment, Defendant
JAVIER ALEJANDRO RAMOS VELDERRAIN shall forfeit to the United States
pursuant to Title 18, United States Code, Section 924(d), and Title 28, United States Code,
Section 2461(c), any firearms involved in the commission of the offense, including, but

not limited to two Century Arms International model VSKA 7.62x39mm caliber rifles.

United States of America v. Javier Alejandro Ramos Velderrain
Indictment Page 2 of 3

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If any of the property described above, as a result of any act or omission of the
defendant: a) cannot be located upon the exercise of due diligence; b) has been transferred
or sold to, or deposited with, a third party; c) has been placed beyond the jurisdiction of
the court; d) has been substantially diminished in value; or e) has been commingled with
other property which cannot be divided without difficulty, it is the intent of the United
States, pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title
28, United States Code, Section 2461(c), to seek forfeiture of any other property of said
defendant up to the value of the above forfeitable property, including, but not limited to,
all property, both real and personal, owned by the defendant.

All pursuant to Title 18, United States Code, Section 924(d); Title 28, United States
Code, Section 2461(c); and Rule 32.2(a), Federal Rules of Criminal Procedure.

A TRUE BILL

/S/

FOREPERSON OF THE GRAND JURY
Dated: December 29, 2021

GARY M. RESTAINO
United States Attorney

District of Arizona DACTED FOR

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PUBLIC DISCLOSURE

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/S/

ANGELA W. WOOLRIDGE
Assistant U.S. Attorney

United States of America v. Javier Alejandro Ramos Velderrain
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